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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   KYLE LYDELL CANTY,

 9                                 Plaintiff,             Case No. C16-1655-RAJ-JPD

10          v.                                            ORDER TO SHOW CAUSE

11   KING COUNTY, et al.,

12                                 Defendants.

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14       This is a civil rights action proceeding under 42 U.S.C. § 1983. Plaintiff filed this action in

15   October 24, 2016 while he was confined at the King County Jail in Seattle, Washington. (See

16   Dkt. 1.) Plaintiff was subsequently transferred into the custody of the Washington Department

17   of Corrections and he is currently confined at the Washington Corrections Center in Shelton,

18   Washington. (See Dkt. 98.) Because plaintiff is now in Washington Department of Corrections

19   custody, he is subject to mandatory e-filing pursuant to General Order 06-16.

20          On August 22, 2017, plaintiff submitted to the Court via U.S. Mail a document

21   entitled “Plaintiff’s Full Cooperation with his New Community Corrections Officer Notice of

22   Intent.” (Dkt. 99.) On August 23, 2017, plaintiff was advised that his compliance with the

23   Court’s E-
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 1   Filing Initiative is mandatory. Plaintiff was advised four additional times of the mandatory

 2   nature of the Court’s E-Filing Initiative, and yet he continues to submit documents via U.S. Mail.

 3   (See Dkts. 100, 102, 103, 104, 105, 109 and 112.) Plaintiff has provided no explanation for

 4   ignoring the Court’s warnings that compliance with the Court’s E-Filing Initiative is mandatory.

 5          Accordingly, this Court hereby ORDERS as follows:

 6          (1)     Plaintiff shall explain to the Court in writing, not later than September 28, 2017,

 7   why he is failing to comply with the mandatory E-Filing Initiative. If plaintiff fails to provide a

 8   meaningful response to this Order, all future filings submitted by plaintiff after the date of this

 9   Order that are not in compliance with the E-Filing Initiative will be returned to him unfiled.

10          (2)     The Clerk is directed to send copies of this Order to plaintiff, to counsel for

11   defendants, and to the Honorable Richard A. Jones.

12          Dated this 15th day of September, 2017.

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14
                                                    A
                                                    JAMES P. DONOHUE
                                                    Chief United States Magistrate Judge
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